
In Re: Campbell “66” Express, Inc., applying for reconsideration of granted writ of March 27, 1981, Court of Appeal, Fourth Circuit, No. 11,343, Parish of Orleans.
Application ordered returned to relator. Rule 7, § 7 of La.S.Ct. rules. Court of appeal properly affirmed trial court’s denial of plaintiff’s motion to recuse. However, under the circumstances, plaintiff’s case should not have been dismissed with prejudice because of the actions of her attorney. Hence, judgment of the Court of Appeal affirming the trial court’s dismissal with prejudice is reversed and the case is remanded to the trial court to enter a judgment of dismissal without prejudice, 392 So.2d 173.
Denied.
LEMMON, J., would grant.
